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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

CASE NO. 19-CV-
EGLISE BAPTISTE BETHANIE DE
FT. LAUDERDALE, INC., a Florida

Not-For-Profit Corporation, and ANDY
SAINT-REMY,

Plaintiffs,
Vv.

THE SEMINOLE TRIBE OF FLORIDA and
AIDA AUGUSTE,

Defendants.
/

 

VERIFIED COMPLAINT/JURY TRIAL DEMANDED
(Fla. Bar No. 133162)

Plaintiffs Eglise Baptiste Bethanie De Ft. Lauderdale, Inc. (“Eglise Baptiste”), and
Andy Saint-Remy (“AS-R”), by their undersigned attorneys, sue Defendants The Seminole
Tribe Of Florida (“SemTribe”) and Aida Auguste (“A-Auguste”) and allege:
SUBJECT-MATTER JURISDICTION
1. This is a civil action for damages under 42 U.S.C. § 1985(3), for which subject-
matter jurisdiction exists by virtue of 28 U.S.C. § 1343(a). In addition, this is a civil action
for damages for interference with business relationships and trespass, for which supplemental

subject-matter jurisdiction exists by virtue of 28 U.S.C. § 1367.
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THE PARTIES

 

2. Eglise Baptise is a Florida not-for-profit corporation and conducts business as a
Haitian Baptist Church, which is affiliated with the Southern Baptist Convention and adheres
to the congregationalist mode of Christian church governance. Its principal place of business
is located at 2200 N.W. 12% Avenue, Fort Lauderdale, Florida 33311. Eglise Baptiste
Possesses fee simple title to the approximately ten (10) acres of improved (by a church
structure) real property commonly known by the foregoing address and bearing Tax
Identification Number 4942-28-32-0010 (“the Church Property”). The Church Property is
situated outside the geographical boundaries of SemTribe’s reservation in Hollywood,
Florida.

3. AS-R is a citizen and resident of Broward County, Florida, and is not subject to
any legal disabilities. He is the President and a Director and a member of Eglise Baptiste.

4. SemTribe is an Indian tribe which has been recognized by the United States
Department of the Interior pursuant to 25 U.S.C. § 5123. The Supreme Court of the United
States has characterized the several Indian tribes, such as SemTribe, as “dependent domestic
sovereigns”. SemTribe owns and maintains an Indian reservation in Hollywood, Florida, the
geographical boundaries of which are demarcated in an aerial map, a copy i which is
attached hereto as Exhibit “A” and the contents of which are incorporated herein by
reference, SemTribe is governed by a Tribal Counsel, which is established by the

Constitution And Bylaws of SemTribe, a copy of which is attached hereto as Exhibit “B” and
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the contents of which are incorporated herein by reference. The Seminole Police Department
(“the SPD”) is an agency of SemTribe and operates under the supervision of the Tribal
Council. By engaging in the conduct set forth in { 12 of this Verified Complaint, SemTribe
has waived its sovereign immunity from civil suit from, and liability in damages to, Eglise
Baptiste and AS-R.

5. A-August is a citizen and resident of Broward County, Florida. She is not subject
to any legal disabilities.

VENUE

6. The venue of this civil action is properly laid in the Southern District of Florida
because (a) SemTribe’s principal place of business is located in that District, (b) A-August
resides in that District and (c) Plaintiffs’ causes of action arise in that District.

CONDITIONS PRECEDENT

7. All conditions precedent to the commencement and prosecution to final judgment
of this civil action have taken place, have been performed or have been waived or excused
by SemTribe.

ENGAGEMENT OF COUNSEL

8. Eglise Baptiste and AS-R have been compelled to engage the professional services
of Metschlaw, P.A., for the purposes of preparing, commencing and prosecuting to final
judgment this civil action. In this regard, Eglise Baptiste and AS-R have obligated

themselves to pay to Metschlaw, P.A., a reasonable attorney’s fee and to reimburse
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Metschlaw, P.A.’s necessary, non-overhead, out-of-pocket expenditures.

THE FACTS

 

9. Prior to his death on July 26, 2014, the Pastor of Eglise Baptise was the Rev. Usler
Auguste (“Pastor Auguste”), Since then, the Board of Directors of Eglise Baptiste and A-
Auguste (the widow of Pastor Auguste) have contended for the leadership of Eglise Baptiste.

10. On Sunday, September 22, 2019, a meeting of the congregation of Eglise Baptiste
was called for the purpose of approving a process for the selection and installation of a
successor to the late Pastor Auguste. Despite the peacemaking efforts of a mediator assigned
to Eglise Baptiste by an affiliate of the Southern Baptist Convention, the September 22, 2019,
congregational meeting devolved into a pushing, shoving and punching affair between the
supporters of the Board of Directors and the supporters of A-Auguste. The Fort Lauderdale
Police Department was summoned and its officers helped to restore order.

11. Eglise Baptiste, on September 24, 2019, filed a civil action for declaratory and
injunctive relief against A-August in the Circuit Civil Division, Seventeenth Circuit Court,
Broward County, Florida, which came to be styled Eglise Baptiste Bethanie De Ft.
Lauderdale, Inc. v. Aida Auguste, Case No. CACE-19-19270 (4) (“Case No. 19-19270"),
Undersigned counsel in this action for Eglise Baptiste and AS-R commenced and continues
to represent Eglise Baptiste in Case No. 19-19270. From the inception of Case No. 19-

19270, the electronic service list for that civil action has included Attorney Edward Scott

Golden (FBN 330442).
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12. On Sunday morning, September 29, 2019, Eglise Baptiste conducted its weekly

  

individuals wearing SPD uniforms, without judicial authorization (a) entered the Church
Property, (b) expelled all the worshipers, (c) changed the locks to the doors of the structure
located on the Church Property, (d) seized the business records of Eglise Baptiste and (e)
locked the gates to the Church Property.

13. A-Auguste and her supporters continue wrongfully to possess the real and
personal property of Eglise Baptiste. In Case No. 19-19270, Eglise Baptiste has filed a
Verified First Amended Complaint against A-Auguste and her adherents seeking to regain
possession of the personal and real property belonging to Eglise Bapitste.

PLAINTIFFS’ CLAIMS FOR RELIEF
COUNT I- CONSPIRACY TO VIOLATE PLAINTIFFS’ CIVIL RIGHTS

14. Eglise Baptiste and AS-R reallege the matters set forth in {{ 1 through 13 of this
Verified Complaint.

15. This is a claim for compensatory damages against SemTribe and A-Auguste for

their violation of 42 U.S.C. § 1985(3).:

 

' Section 1983(3), Title 42, U.S. Code, is entitled Depriving persons of rights or
privileges and provides:

If two or more persons in any State or Territory conspire or go
in disguise on the highway or on the premises of another, for the

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16. SemTribe and A-Auguste conspired to deprive Eglise Baptiste and AS-R of the
equal protection of the laws and the privileges and immunities vouchsafed to Eglise Baptise
and AS-R under the First and F ourteenth Amendments to the United States Constitution.

17. In furtherance of their foregoing conspiracy, SemTribe and A-Auguste committed
the overt acts which are set forth in {| 12 of this Verified Complaint.

18. As the proximate result of the foregoing conspiracy, Eglise Baptiste and AS-R
have suffered injuries in their persons and properties for which injuries they are entitled to

Tecover compensatory damages from SemTribe and A-Auguste.

 

purpose of depriving, either directly or indirectly, any person or
class of persons of the equal protection of the laws, or of equal
privileges and immunities under the laws; or for the purpose of
preventing or hindering the constituted authorities of any State
or Territory from giving or securing to all persons within such
State or Territory the equal protection of the laws; or if two or
more persons conspire to prevent by force, intimidation, or theat,
any citizen who is lawfully entitled to vote, from giving his
Support or advocacy in a legal manner, toward or in favor of the
election of any lawfully qualified person as an elector for
President or Vice President, or as a Member of Congress of the
United States; or to injure any citizen in person or property on
account of such support or advocacy; in any case of conspiracy
set forth in this section, if one or more persons engaged therein
do, or cause to be done, any act in furtherance of the object of
such conspiracy, whereby another is injured in his person or
property, or deprived of having and exercising any right or
privilege of a citizen of the United States, the party so injured or
deprived may have any action for the recovery of damages
occasioned by such injury or deprivation, against any one or
more of the conspirators.
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Wherefore Eglise Baptiste and AS-R respectfully request that the Court enter a final
judgment for damages in their favor and against SemTribe and A-Auguste, jointly and
severally, plus the costs of this civil action, including a reasonable attorneys’ fee.

COUNT II-INTERFERENCE WITH BUSINESS RELATIONSHIPS

19. Eglise Baptiste realleges the matters set forth in {§ 1 through 13 of this Verified
Complaint.

20. SemTribe and A-Auguste, with a bad motive and without justification, improperly
and intentionally interfered with Eglise Baptiste’s (business) relationships with its members
when SemTribe and A-Auguste engaged in the conduct set forth in § 12 of this Verified
Complaint.

21. As the proximate result of the foregoing interference, E glise Baptiste has suffered
an injury in its business and property for which injury it is entitled to recover compensatory
damages from SemTribe and A-Auguste.

Wherefore, Eglise Baptiste respectfully requests that the Court enter a final judgment
for damages in its favor and against SemTribe and A-Auguste, jointly and severally, plus the
costs of this civil action.

COUNT III- TRESPASS

22. Eglise Baptiste realleges the matters set forth in {{ 1 through 13 of this Verified

Complaint.
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23. SemTribe and A-Auguste, without authorization, entered on and, to the exclusion
of Eglise Baptiste, seized the Church Property and thereby committed a trespass.

24. As the proximate result of the conduct set forth in 44 12 and 23 of this Verified
Complaint, Eglise Baptiste has sustained an injury in its business and property for which
injury it is entitled to recover compensatory damages from SemTribe and A-Auguste.

Wherefore, Eglise Baptiste respectfully requests that the Court enter a final judgment
for damages in its favor and against SemTribe and A. Auguste, jointly and severally, plus the
costs of this civil action.

METSCHLAW, P.A.

Attorneys for Eglise Baptiste and AS-R
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LAWRENCE R. METSCH
FBN 133162

VERIFICATION

 

I, Andy Saint-Remy, under penalty of perjury, declare that:
1. I am the individual Plaintiff in the above styled civil action and the President of
Plaintiff Eglise Baptiste Bethanie De Ft. Lauderdale, Inc.

2. Ihave read the foregoing Verified Complaint and confirm that the factual matters
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set forth therein are true and correct.

 
   

FCF REEL TL
ANDY SAINT-REMY J
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EXHIBIT “A”
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EXHIBIT “B”
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DEPARTMENT OF THE INTERIOR
BUREAU OF INDIAN AFFAIRS

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CONSTITUTION AND BYLAWS

OF THE
SEMINOLE TRIBE OF FLORIDA ,

+>

RATIFIED AUGUST 21, 1957

 

UNITED STATES
GOVERNMENT PRINTING OFFICE
WASHINGTON : 1968
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{ CONSTITUTION AND BYLAWS OF THE SEMINOLE
TRIBE OF FLORIDA
\ PREAMRLE
s We, the members of the Seminole Tribe of Florida, in order to

promote justice, insure tranquility, encourage the general welfare,
safeguard our interests and secure the blessings of freedom and
liberty for ourselves and for our posterity, do hereby form and or-
ganize a Seminole Tribal Council and we do ordain and establish
this Constitution and set of Bylaws as the rules for its deliberation.

Articyus I—Trrrrrory

The jurisdiction of the Seminole Tribe of Florida shall include
ali lands within the Dania, Big Cypress, and Brighton Reservations,
the title to which is held by the United States in trust for the Seminole
Tribe of Florida, or by the United States in trust for the Seminole
Indians in Florida, lands held under Executive Order No. 1379,
dated June 28, 1911, and such other lands as may hereafter be
acquired for the use and benefit of the Seminole Tribe of Florida.

Axrticte JI—Mzmerrsurp

The membership of the Seminole Tribe of Florida shall consist of
the following:

Sxorion 1. Any person of Seminole Indian blood whose nanie ap-
pears on the Census Roll of the Seminole Agency of January 1, 1957,
shall ba eligible for enrollment, regardless of blood quantum or place
of residerice, upon written application to the Tribal Council, provided,
that within five years after the approval of this Constitution and
Bylaws the Census Roll may be corrected by the Seminole Tribal
Council. ‘ sheen.

Sc. 2. Any child, of Seminole Indian blood, born to a parent or
parents either or.both whose nemes appear on the Census Roll of the
Seminole Agency of J anuary 1, 1957, shall be eligible for enrollment,
regardless of blood quantum or place of residence, upon written ap-
plication to the Tribal Council: cor . me,
| Suc. 3. Any descendant of Seminole Indian blood of a person whose
hame appears on'the Census Roll of the. Seminole Agency of January
1, 1957, shall be eligible for enrollment, regardless of blood quantur

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or place of residence, upon written application to the Tribal Council.

Sec. 4. In the event the applicant is a minor, the application may
be prepared and presented by the parent or parents of the minor, or
by any adult relative having knowledge of the minor’s eligibility.

Sec. 5. The Tribal Council shall have the power to pass ordinances,
which are consistent with and pursuant to this Constitution, govern-
ing future membership, loss of membership and the adoption of mem-
bers into the Seminole Tribe of Florida, which ordinances shall be
subject to the approval of the Secretarv of the Interior, or his
authorized representative.

Articie I[T—Oraanization or Governing Bopy

Section 1. The governing body of the Seminole Tribe of Florida
shall be known as the Tribal Council and shall consist of eight (8)
members elected by secret ballot as provided in Article IV, Sectian 8.

Src. 2. The Tribal Council shall select from within its membership
a Chairman and Vice-Chairman. It shall also select from within or
without the membership of the tribe a Secretary and a Treasurer and
such committees as may be deemed necessary. A1l officers and com-
Mittees so selected shall hold office for a period of two years or until
the next election of councilmen as provided in Article IV, Section 4.

Sec. 3. The members of the Tribal Council shall be qualified voters
of the Seminole Tribe of Florida, 21 years of age and over. They
shall take office the first Monday in the month immediately following
the election.

Artictt IV—Nominations anp Eecrions

Section 1. (a) The first election of the Tribal Council hereunder
stiall be'-called+and ‘held’ within thirty (36) days‘ following’ the
adoption and approval of the Constitution and Bylaws under the
supervision of the Constitutional Committee and the Superintendent
of the Seminole Agency.

(b) For the purpose of the first election of Tribal Council repre-
sentatives, any person, 21 years of age and over, whose name appears
on the Census Roll of the Seminole Agency of January 1, 1957, shall
be eligible to vote as a tribal member or to hold office as a Tribal
Council representative.

Src. 2. In any election of the Seminole Tribe after the election to
adopt the Constitution and Bylaws and to elect the first Tribal Coun-
cil, eligible voters shall be enrolled members of the tribe 18 years of
age and over. Resident voters shall register with the reservation of
their domicile or residence. Where this constitution provides for
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election of representatives or candidates from a particular reservation,
only voters registered with such reservation shall be eligible to partic-
ipate in the election of such representatives or candidates, Non-
resident voters may register with the reservation of their affiliation or
they may choose to register as nonresident voters, Nonresident voters
shall not vote for reservation representatives.

Sec. 3. The Dania, Big Cypress and Brighton Reservations shall
each have on the Tribal Council one reservation representative. Bach
candidate for thé office of reservation representative must have been
continuously a resident of his or her reservation for a period of at
least six (6) months immediately preceding the election in which he
or she may be a candidate. In addition to the reservations’ represent-
atives there shall be elected five (5) at-large members of the Tribal
Council, two (2) of whom shall be nonresidents of the reservations
herein referred to, but who are otherwise eligible to hold office. The
Tribal Council of the tribe may, if a new area be acquired or set aside
for the Seminole Tribe of Florida, cause additional reservation repre-
sentatives and at-large representatives to be established.

Sec. 4. The candidates in the first election shall hold office as
follows:

(a) The successful candidate from each reservation receiving the

largest number of votes shall hold office for four (4) years.

(b) The successful nonresident at-large candidate receiving the

largest number of votes shall hold office for four (4) years.
The other successful candidates shall hold office for two (2)
years.
The candidates in all succeeding elections shall hold office for a period
of four (4) years.

Sxc. 5. The Tribal Council may by an affirmative vote of a maj ority
remove any official or councilman from office who fails to carry out his
Tribal Council responsibilities, or is found guilty of a misdemeanor in-
volving moral turpitude or a felony in any county, State or Federal
Court, or for gross neglect of duty or misconduct reflecting on the
dignity and integrity of the Tribal Council. Each reservation, by
petition signed by twenty percent (20%) of the eligible voters, may
request the recall of such reservation representative by the Tribal
Council. The recall of at-large representatives shell be by petition
signed by twenty-five (25) eligible voters from any reservation or
nonresident eligible voters.

Before any vote of recall or removal is taken, the member or official
shall be given a written statement of all charges filed against him at
least ten (10) days before the meeting of the Tribal Council before
which he is to appear and he shall be given an opportunity to answer
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any and all written charges at such meeting. The decision of the
Tribal Council shall be final.

Sec. 6. The Tribal Council may by an affirmative vote of a majority
appoint a replacement to fill the unexpired term of the removed
councilman or official, whether involuntarily removed or by death
or resignation. In the event the vacated position is that of a reserva-
tion representative, the replacement shall be selected from said reser-
vation. In the event the vacated council position is a nonresident at-
large position, the replacement shall be a nonresident member eligible
to hold office, and any other vacant at-large position may be filled
by an eligible resident or nonresident member of the tribe,

Sec. 7. Any qualified member of the Seminole Tribe of Florida
may announce his or her candidacy for Tribal Council, such announce-
ment to be in writing and supported by the signature of at least ten
(10) eligible voters from the reservation from which he resides or in
the case of an at-large candidate, his announcement must also be in
writing and supported by ten (10) eligible voters from any reserva-
tion or off reservation. All announcements shall be presented to the
Secretary of the Triba) Council at least twenty (20) days prior to the
date of election. It shall be the duty of the Secretary of the Tribal
Council to post in at least one public place on each reservation and
publish at least once in a newspaper of general circulation at least
fifteen (15) days before the election the names of the candidates for
Tribal Council.

Sec. 8 After the first election is held an election by secret ballot
shall be held every two (2) years. The Tribal Council, subject to the
review of the Secretary of the Interior, or his authorized representa-
tive, shall enact an ordinance wherein the ballot, eligibility of voters,
voting lists, rules for calling elections, absentee balloting procedures,
selection of election officials, polling places, dates and such other perti-
nent factors shall be prescribed. In the event the Tribal Council
dees not call an election as herein provided, the Secretary of the
Interior, within sixty (60) days after the regular election date, may
call such an election.

Src. 9. Upon receipt of a petition signed by twenty (20) percent
of the eligible voters, or by an affirmative vote of a majority of the
Tribal Council members, any enacted or proposed ordinance or reso-
lution of the Tribal Colncil shall be submitted to a referendum of
the eligible voters of the tribe. The majority of the votes cast in
such referendum shall be conclusive and binding on the Tribal Coun-
cil, The Tribal Council shall call such referendum and prescribe
the manner of conducting the vote.
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Articte V—Powers or Trina Counc,

In addition to all powers vested in the Seminole Tribal Council by
existing law, the Tribal Council of the Seminole Tribe of Florida
shall exercise the following powers, subject. to any limitation imposed
by the Constitution or the Statutes of the United States, and subject
further to all expressed restriction upon such powers contained in this
Constitution and Bylaws.

Section 1. To negotiate with the Federal, State and local govern-
ments and others on behalf of the tribe and to advise and consult with
the representatives of the Department of the Interior on all activities
of the Department which may affect the Seminole Tribe of Florida,
excepting those tribal affairs which may hereafter be specifically
delegated under the provisions of the Charter of the Seminole Tribe.

Sexo. 2. To employ legal counsel for the protection of the rights
of the tribe and its members, the choice of counsel and fixing of fees
to be subject to the approval of the Secretary of the Interior, or his
authorized representative.

Sxo. 3. To manage and lease or otherwise deal with tribal lands
and communal resources in accordance with law and to prevent the
sale, disposition, lease or encumbrance of tribal lands, interest in
lands, or other tribal assets without the consent of the tribe.

Sec. 4. To advise with the Secretary of the Interior, or his author-
ized representative, with regard to all appropriation estimates or
Federal projects for the benefit of the Seminole Indians of Florida
prior to the submission of such estimates to the Bureau of the Budget
and the Congress.

Src. 5. (a) To administer any funds within the control of the
tribe; to make expenditures from available funds for tribal purposes,
including salaries and expenses of tribal officials or employees; sub-
ject, however, to the condition that this authority shall not extend
over the responsibilities and authorities specifically delegated to the
Board of Directors by the Charter of the tribe. All expenditures
of tribal funds under control of the Tribal Council shall be by resolu-
tion duly approved by a majority of the Tribal Council in legal ses-
sion and the amounts so expended shall be a matter of public record
at all times.

(b) The Tribal Council, subject to the approval of the Secretary
of the Interior, or his authorized representative, shall prepare annual
budget requests for the advancement to the control of the tribe such
money as is now or may hereafter be deposited to the credit of the
tribe in the United States Treasury or which may hereafter be ap-
propriated for the use of the tribe.
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Sec. 6. To make and enforce ordinances, subject to the review of
the Secretary of the Interior, or his authorized representative, cover-
ing the tribe’s right to levy taxes and license fees on persons or organ-
izations doing business on the reservation.

Sec. 7. To promote public health, education, charity, and such
other services as may contribute to the social advancement of the
members of the Seminole Tribe of Florida.

Src. 8. To adopt resolutions regulating the procedures of the Semi-
nole Tribal Council, its officials and committees in the condtict of
tribal affairs.

Sec. 9. (a) No authorities contained in this Constitution may be
delegated by the Seminole Tribal Council to tribal officials, district
councils, or associations to carry out any function for which the Tribal
Council assumes primary responsibility, except by ordinance or reso-
lution duly enacted by the Tribal Council in legal session, and ex-
cepting also those specific requirements contained in the Bylaws of
the Seminole Tribe of Florida.

(b) The Seminole Tribal Council is hereby authorized to recog-
nize any district committees, associations or other organization open
to the members of the Seminole Tribe of Florida and to approve
such organizations, subject, however, to the provision that no such
committee, association or organization may assume authorities specifi-
cally granted to the Seminole Tribal Council unless by a proper dele-
gation of authority by the Seminole Tribal Council.

Src. 10. To deposit to the credit of the Seminole Tribe of Florida
tribal funds, without limitation on the amount in any account, in any
National or State bank whose deposits are insured by any agency of
the Federal Government; provided, that funds advanced to the tribe
from funds held in trust in the United States Treasury shall be
deposited with a bonded disbursing officer of the United States when-
ever the conditions prescribed by the Secretary of the Interior, or
his authorized representative in connection with such advance require
that the advance be so deposited.

Artictz VI—MANNrR oF Review

Srorton 1. Any resolution or ordinance which by the terms of this
Constitution and Bylaws is subject to review by the Secretary of the
Interior, or his authorized representative, shall be presented to the
Superintendent of the reservation within ten (10) days of its enact-
ment. The Superintendent shall within ten (10) days after its
receipt approve or disapprove the same.

If the Superintendent shall approve any ordinance or resolution,
it shall thereupon become effective, but the Superintendent shall
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transmit a copy of the same, bearing his endorsement, to the Secre-
tary of the Interior, who may within ninety (90) days from the date
of enactment rescind the said ordinance or resolution for any cause,
by notifying the Tribal Council of such decision.

If the Superintendent shall refuse to approve any ordinance or
resolution submitted to him, within ten (10) days after its receipt,
he shall advise the Tribal Council of his reason therefor. If the
reasons appear to the Tribal Council to be insufficient it may, by a
majority vote, refer the ordinance or resolution to the Secretary of
the Interior who may within ninety (90) days from the enactment
of the resolution of referral, approve or disapprove same in writing,
provided however no such ordinance shall become effective until ap-
proved by the Secretary of the Interior or his duly authorized
representative,

Sxc. 2. Any resolution or ordinance by the terms of this Consti-
tution and Bylaws that is subject to the approval of the Secretary
of the Interior, or his authorized representative, shall be presented
to the Superintendent who shall transmit the same to the Secretary
with his recommendations as to the merits of the proposals.

The said ordinance or resolution shall not become effective until
it shall have been approved by the Secretary of the Interior, or his
duly authorized representative.

Articte VII—Amenpuents

Whenever the Tribal Council, by a unanimous vote of all members,
or the tribal membership by a petition signed by twenty (20) per-
cent of the eligible voters, calls for the submission of an amendment,
the Secretary of the Interior shall call an election upon the proposed
amendment to the Constitution and Bylaws. If at such election the
amendment is adopted by a majority vote of the qualified voters of
the tribe voting therein, and if at least thirty (80) percent of those
entitled to vote shall vote, such amendment shall be submitted to the
Secretary of the Interior and, if approved by hin, shall thereupon
take effect.

BYLAWS OF THE SEMINOLE TRIBE OF FLORIDA
Articty I—Durms or Orricers

Srorton 1. The Chairman of the Tribal Council shall preside over
all meetings of the council and exercise any authority specifically dele-
gated to him as provided in Article V, Section 9, of the Constitution.
The Chairman shall not vote on any issue before the council except
only in the case of a tie.
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Szo. 2. The Vice-Chairman shall assist the Chairman when called
on to do so, and in the absence of the Chairman shall preside and
when so presiding shall have all the privileges, duties and responsi-
bilities delegated to the Chairman. In the absence of the Secretary,
the Vice-Chairman shall assume all the duties and responsibilities
of the Secretary,

Szc. 3. The Secretary shall cause to be prepared all minutes, reso-
lutions and ordinances enacted at all metings and forward copies, in
every instance, to the Superintendent. In addition to the duties
prescribed pursuant to Article V, Section 8, the Secretary shall main-
tain all files, records, and correspondence of the Tribal Council in an
orderly manner for the convenience of the Tribal Council and exer-
cise such other duties as may be specifically delegated to him.

Szc. 4. (a) The tribal Treasurer shall accept, receive, receipt for,
preserve and safeguard all funds in the custody of the tribe from
whatever source. He shall deposit all funds in such bank, or else-
where as directed by the Tribal Council in accordance with Article
V, Section 10 and shall cause to be made and preserved a faithful
record of such funds and shall report on all receipts and expendi-
tures and the amount and nature of all funds in his possession or
custody, such report to be made in writing and filed with the Secre-
tary at each regular meeting of the Tribal Council and at such other
times as requested by the Tribal Council.

(b) He shall not pay out or otherwise disburse any funds in his
possession or custody, or in the possession or custody of the Tribal
Council, except when properly authorized to do so by a duly enacted
resolution.

(c) The books and records of the tribal Treasurer shall be audited
at, least once every year by a comepetent auditor employed by the
council and at such other time as the council or the Commissioner of
Indian Affairs or his authorized representative may direct. In addi-
tion to the copies prepared for the governing body, one copy of the
audit shall be prepared for the Superintendent, one copy for the Ares
Director and one copy for the Commissioner of Indian Affairs.

(d) The tribal Treasurer shall be required to give a bond satisfac-
tory to the Tribal Council and the Commissioner of Indian A ffaris,
or his authorized representative, and make such provisions for carry-
ing out the Tribal Council directives in the manner and method for
custody and disbursement of funds as shall guarantee their safety,
proper disbursement and use.
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Arricie [I—Qaru or Orricz

Seprion 1. All duly elected members of the Tribal Council who have
been certified shall be installed as provided in Article ILI, Section 3,
upon subscribing to the following oath to be administered by the
Superintendent:

“I, »,do solemnly swear that
I will support and defend the Constitution of the United States
against all enemies; that I will faithfully and impartially carry out
the duties of my office to the best of my ability; that I will cooperate,
promote, and protect the best interest of the tribe, in accordance with
the Constitution and Bylaws of the Seminole Tribe of Florida.”

 

Articiz I1T—Sararres anp REMUNERATIONS

Sxoriow 1. The Tribal Council may prescribe such salaries and re-
munerations pursuant to the provision of Article V, Section 5, as may
be available and necessary to carry on its responsibilities and the
responsibilities of its officials and employees.

ArticLe IV—OrprnaNnces AND Reso.urions

Srorton 1, All final decisions of the Tribal Council on matters of
general and permanent interest, to members of the tribe and to tribal
administration shall be embodied in ordinances. Each ordinance
shall be numbered consecutively beginning with Number 1. Such
enactments shall be available for public ingpection. ,

Sro. 2. All final decisions of the Tribal Council on matters of
temporary interest or relating to particular individuals, officials or
committees shall be embodied in resolutions. Such resolutions shall
be numbered consecutively beginning with Number 1 and shall also be
subject to public inspection.

Artictze V—Mzrrings

Sroriow 1. The date and place of regular meetings of the Tribal
Council shall be on the first Monday of each month at the Seminole
Agency headquarters, and such meetings will convene at 10:00 a. m.
Special meetings shall be called by the Chairman by written notice
setting time, place, and date of meeting and the purpose of such meet-
ing. No special meeting shall be called except on matters of serious
concern to the Tribal Council.

Sec. 2. A quorum of five members shall constitute a quorum and no
official actions shall be transacted in the absence of a quorum at any

time,
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Articty V1—Onrprr or Business

Section 1. The order of business of the Tribal Council shall be:
(a) call to order by Chairman
(b) roll call
(c) reading of minutes of last meeting
(d) unfinished business
(e) reports
(£) new business
(g) adjournment

Articts VII—RattricaTion

This Constitution and Bylaws, when approved by the Secretary
of the Interior, shall be effective from and after the date of its rati-
fication by a majority vote of adult Indians of the Seminole ‘Tribe
of Florida voting at an election called for that purpose by the Secre-
tary of the Interior; Provided, that at least 30 percent of those en-
titled to vote shall vote in such an election. .

For the purpose of this election any adult 21 years of age and
over whose name appears on the Census Roll of the Seminole Agency
of January 1, 1957, shall be eligible to vote. A voting list of such
eligible persons shall be prepared by the Constitutional Committee

and the Superintendent.
APPROVAL

I, Roger Exner, Assistant Secretary of the Interior of the United
States of America, by virtue of the authority granted me by the
Act of June 18, 1934 (48 Stat. 984), as amended by the Act of June
15, 1935 (49 Stat. 378), do hereby approve the attached Constitution
and Bylaws of the Seminole Tribe of Florida, subject to ratification
by the Tribe in the manner therein provided.

Upon ratification of this Constitution and Bylaws, all rules and
regulations heretofore promulgated by the Interior Department or
by the Bureau of Indian Affairs, so far as they may be incompatible
with any of the provisions of the said Constitution and Bylaws, are
declared inapplicable to the Seminole Tribe of Florida.

All officers and employees of the Interior Department are ardered
to abide by the provisions of the said Constitution and Bylaws.

Approval Recommended :
Grenn L. Emmons
Commissioner of Indian Affaire
Rocer Ernst
Assistant Secretary of the Interior.
(SEAL)
Wasuineton, D. C.. July 11, 1957
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CERTIFICATE OF RATIFICATION

Pursuant to Section 16 of the Act of June 18, 1934 (48 Stat. 984),
as amended by the Act of June 15, 1935 (49 Stat. 378), the attached
Constitution and Bylaws approved on J uly 11, 1957, by Roger Ernst,
Assistant Secretary of the Interior .was-submitted for ratification to
the adult Indians of the Seminole Tribe of Florida and was on
August 21, 1957, ratified by a vote of 241 for, and 5 against, in an
election in which at least 30 percent of those entitled to vote cast

their ballots,
Britt Oscroia
Chairman, Constitutional Committee
Mise Osceoia
Secretary, Constitutional Committee
K. A. Marmon
Superintendent, Seminole ‘Agency

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